914 F.2d 1491Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph HAIRSTON, Petitioner,v.DIRECTOR, OFFICE OF WORKERS COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR;  United States SteelCorporation, Respondents.
    No. 89-1016.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 8, 1990.Decided Sept. 24, 1990.
    
      On Petition for Review of an Order of the Benefits Review Board.  (BRB No. 87-946 BLA).
      Ralph Hairston, petitioner pro se.
      Sylvia Theresa Kaser, Donald Steven Shire, Patricia May Nece, United States Department of Labor, Washington, D.C.;    Robert Charles Jones, United States Steel Corporation, Pittsburgh, Pa., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before K.K. HALL, PHILLIPS, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ralph Hairston seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Hairston v. United States Steel Corp., No. 87-946 BLA (Ben.Rev.Bd. Dec. 29, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    